Case 1:11-cr-00205-AKH Document 230 Filed 02/11/25 Page1of1

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February 10, 2025

Honorable Alvin K. Hellerstein
United States District Court for the
Southern District of New York

500 Pearl Street

Manhattan, New York 10007

Re: U.S. v. Hugo Armando Carvajal Barrios
11 Cr, 205 (AKH)
Dear Judge Hellerstein:

I am writing for the second (and last time) te respectfully ask this Court to continue the
currently scheduled deadline for filing the defense’s Section 5 CIPA notice for one week, from
Monday, February 10, 2025 until Thursday, February 10, 2025.

Undersigned consulted with the prosecutors assigned to this case and the Government
does not object to the brief continuance request, with an extension until March 14, 2025, for the
prosecution to submit any reply. This continuance would not affect the currently scheduled trial

date of June 23, 2025. The next status in this case is scheduled for March 5, 2025.

Thank you for your consideration in this matter.

Respectfully submitted

Pebvt fel

Robert Feitel

Copies via ECF:
All government counsel of record

